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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

Dr. Shiva Ayyadurai

                Plaintiff

       v.                                                   Civil Action No. 1:18-11929-RGS

The University of Massachusetts et al

                Defendants


                                   ORDER OF DISMISSAL

                                        October 22, 2018

STEARNS, D.J.

       In accordance with the Court’s Memorandum and Order on October 22, 2018 [dkt #22],

   denying Plaintiff’s Motion for Preliminary Injunction, it is ORDERED that the above-

   entitled action be, and hereby is, dismissed with prejudice.

                                                                  By the Court,

                                                                  /s/ Arnold Pacho
                                                                  Deputy Clerk
